        Case 1:05-cv-00329-UNA Document 346 Filed 10/04/11 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                     )
 YUNIS ABDURRAHMAN SHOKURI                           )
      (ISN 197),                                     )
     Petitioner,                                     )   Civil Action No. 05-0329 (PLF)
                                                     )
               v.                                    )   FILED UNDER SEAL
                                                     )
 BARACK H. OBAMA, et al.,                            )
     Respondents.                                    )
                                                     )

                          RESPONDENTS’ NOTICE OF FILING

       Respondents hereby provide notice that they filed under seal with the Clerk’s Office

today a protected information submission, entitled “Motion to Deem Protected Information

Highlighted in the Accompanying Proposed Public Factual Return for ISN 197,” along with a

marked version of the factual return for Yunis Abdurrahman Shokuri (ISN 197).

Dated: October 4, 2011                          Respectfully submitted,

                                                TONY WEST
                                                Assistant Attorney General

                                                JOSEPH H. HUNT
                                                Branch Director

                                                TERRY M. HENRY
                                                JAMES J. GILLIGAN
                                                Assistant Branch Directors

                                                  /s/ Kristina A. Wolfe
                                                KRISTINA A. WOLFE
                                                Trial Attorney

                                                United States Department of Justice
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                                                Washington, DC 20530
Case 1:05-cv-00329-UNA Document 346 Filed 10/04/11 Page 2 of 2




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